           Case 1:19-cv-03377-LAP Document 235
                                           234 Filed 01/08/21
                                                     01/07/21 Page 1 of 1
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January 7, 2021

Via ECF
Hon. Lorretta A. Preska
U.S. District Court for the Southern District of New York
500 Pearl Street
New York, New York 10007
Re:      Giuffre v. Dershowitz, No. 19-cv-3377-LAP
Dear Judge Preska:
        We represent non-party Sharon Churcher in connection with the Subpoena served on her
by Defendant Alan Dershowitz. In our letter of December 8, 2020 (ECF No. 221), we requested
that the Court hold our request for a pre-motion conference for a motion to quash in abeyance
while we conferred with the parties to determine whether the issues in the potential motion could
be narrowed or resolved. The Court granted that request. See ECF No. 222. Since then, we
have continued to confer in good faith with the parties, and have made further progress in
narrowing the issues, but have not yet completed our determination whether all potential
objections to the subpoena can be resolved without motion practice. Accordingly, we
respectfully request that the Court continue to hold our request for a pre-motion conference in
abeyance for an additional fourteen (14) days (through January 21, 2021), to allow the parties to
continue to confer. On or before January 21, 2021, we will report back to the Court to either
notify the Court that no motion will be necessary or to request a conference and/or briefing
schedule for the anticipated motion to quash.
       We have conferred with counsel for Plaintiff and Defendant and both consent to this
requested relief.
Respectfully Submitted,                   Ms. Churcher's request for a pre-
Davis Wright Tremaine LLP                 motion conference will be held in
                                          abeyance through January 21, 2021.                           SO
/s/ Laura R. Handman
                                          ORDERED.
cc:      All parties (via CM/ECF)
                                                                               1/8/2021




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